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Andrew Anglin

                   UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION

                                      )
TANYA GERSH,                          )    Case No. 9:17-cv-50-DLC-JCL
                                      )
            Plaintiff,                )
                                      )     DEFENDANT ANDREW
      vs.
                                      )    ANGLIN’S MOTION FOR A
ANDREW ANGLIN,                        )      PROTECTIVE ORDER
                                      )
            Defendant.                )
                                      )
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                     DEFENDANT ANDREW ANGLIN’S
                    MOTION FOR A PROTECTIVE ORDER
      Defendant Andrew Anglin, by and through his undersigned counsel, hereby

moves this Honorable Court to issue a protective order pursuant to Fed. R. Civ. P.

26(c)(1).   In support hereof, Defendant refers this Honorable court to the

accompanying Brief in Support of Motion for a Protective Order, the Declaration of

Jay M. Wolman, and exhibits, filed herewith.

      Pursuant to Fed. R. Civ. P. 26(c) and Local Civil Rule 26.3(c)(1), counsel for

Mr. Anglin and Plaintiff spoke telephonically on July 6, 2018 and conferred in good

faith concerning all disputed issues in this Motion. Plaintiff’s counsel indicated that

Plaintiff objects to the relief requested herein.


      Dated: July 9, 2018.               Respectfully submitted,
                                         /s/ Marc J. Randazza
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 9, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I further certify that a true

and correct copy of the foregoing document being served via transmission of Notices

of Electronic Filing generated by CM/ECF.

                                        /s/ Jay M. Wolman
                                        Jay M. Wolman




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